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                  IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

  BRAYDEN URDAN, individually and on                   Case No.
  behalf of all others similarly situated,

                         Plaintiff,

  v.

  SWEEPSTEAKS LIMITED d/b/a
  STAKE.US,

                         Defendant.


             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

        Plaintiff Brayden Urdan (“Plaintiff”) brings this case, individually and on behalf of all

others similarly situated, against Defendant Sweepsteaks Limited d/b/a Stake.us (“Stake” or

“Defendant”) to enjoin its operation of illegal online casino games and to seek restitution,

damages, and other appropriate relief. Plaintiff alleges as follows upon personal knowledge as to

himself and his own acts and experiences, and upon information and belief, including

investigation conducted by his attorneys, as to all other matters.

                                  NATURE OF THE ACTION

        1.     Stake.com is one of the most popular and profitable online casinos on the planet.

As its co-founder Ed Craven proudly stated, “Stake[.com] has hit a point now where I’m

confident our betting volume is the highest in the world out of any casino, land-based or online.”

Yet despite its global dominance, Stake.com was blocked from entering the U.S. market, where

online gambling is highly regulated and banned entirely in many states, including Illinois. To

evade these restrictions, Defendant created Stake.us––a platform marketed to U.S. consumers as

a so-called “social casino” that does not permit real gambling. But in reality, Defendant Stake.us




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is a virtual clone of Stake.com, rebranded to mislead regulators and consumers into believing it

offers harmless gameplay instead of an unlawful gambling.

       2.      On Stake.com, players buy chips, gamble, and cash out their winnings—just like

at a regular casino. But Defendant knew that openly selling casino chips to U.S. customers would

immediately expose Stake.us as an illegal online casino.

       3.      To hide the true nature of its gambling operation, Defendant claims that the only

chips it sells to consumers are harmless tokens called “Gold Coins,” which can only be used for

“casual” gameplay on the Stake.us platform, have no real-world value, and can never be cashed

out. But here’s the catch: Defendant bundles every purchase of Gold Coins with a second type of

token called “Stake Cash” as a supposedly free bonus. Unlike Gold Coins, Stake Cash can be

wagered on casino games and cashed out for real money at a fixed 1:1 ratio to the U.S. Dollar––

exposing Stake Cash as a clear vehicle for real-money gambling.

       4.      Defendant’s pricing structure confirms that the true purpose of these transactions

is to sell Stake Cash––not Gold Coins. Every dollar spent buys players an equivalent amount of

Stake Cash, plus an enormous quantity of nearly worthless Gold Coins. For example, $20 buys

20.05 Stake Cash (and 200,000 Gold Coins), $50 buys 50.12 Stake Cash (and 500,000 Gold

Coins), and so on. Despite Defendant’s claim that players are purchasing harmless virtual tokens,

the pricing structure and game play reveal that Stake Cash—not Gold Coins—is the real product

Stake is selling to entice players into engaging in real-money gambling. The Gold Coins merely

serve to deceive regulators and lure players under the guise of “safe” entertainment.

       5.      Virtual gambling is highly addictive and strictly regulated in Illinois. By law,

these games can only be offered by licensed operators in licensed, physical locations, where the

Illinois Gaming Board ensures fair play and enforces consumer protection standards. Gambling




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can never be offered to consumers over the Internet, as online gambling is expressly prohibited

in Illinois. See 720 ILCS 5/28-1(a)(12) (criminalizing the operation of an “Internet site that

permits a person to play a game of chance or skill for money or other thing of value”).

       6.      By offering Stake Cash that can be wagered on games of chance over the Internet

and redeemed for real money, Stake is operating an unlicensed and illegal online casino. And

without any oversight or accountability, Defendant flouts Illinois gambling regulations by, for

example, failing to provide gambling addiction resources for problem gamblers. 230 ILCS

10/13.1(a); 11 ILL. ADMIN. CODE 1800.1750.

       7.      Defendant’s misconduct inflicts severe harm on vulnerable populations,

especially individuals prone to gambling addiction and younger consumers targeted through its

“free play” marketing. Stake floods social media platforms with slick ads, influencer videos, and

flashy visuals, making its games seem safe, fun, and harmless. By masking its real-money

gambling platform as just another “social casino,” Stake creates exactly the kind of dangerous

environment that Illinois gambling laws were designed to stop. This deliberate obfuscation

exposes Illinois consumers to significant risks of financial ruin, psychological distress, and

gambling addiction.

       8.      Accordingly, Plaintiff Urdan, on behalf of himself and other similarly situated

individuals, brings this lawsuit to expose Stake’s predatory practices, recover funds lost by its

victims, and dismantle its deceptive and unregulated gambling operations.

                                            PARTIES

       9.      Plaintiff Brayden Urdan is a natural person and citizen of the State of Illinois.

       10.     Defendant Sweepsteaks Limited is a Cyprus Limited Company with its principal

place of business located at 28 Oktovriou, 313 Omrania BLD, Limassol, CY-3105, Cyprus.




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                                  JURISDICTION AND VENUE

        11.     This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(d)(2)

because (i) at least one member of the Class is a citizen of a different state than Defendant, (ii)

the amount in controversy exceeds $5,000,000, exclusive of interests and costs, and (iii) none of

the exceptions under that subsection apply to this action.

        12.     This Court has personal jurisdiction over Defendant because it conducts

substantial, continuous, and systematic business in Illinois—including by entering into contracts

with Illinois residents and engaging in ongoing economic relationships with them. Furthermore,

Defendant purposefully directed its activities to the District by providing services to the residents

of this District that it knew would be used within this District, advertising its services in Illinois,

and actually profiting from the resulting gambling taking place in Illinois on its platform.

        13.     Venue is proper in this District under the provision of 28 U.S.C. § 1391 because a

substantial part of the events or omissions giving rise to the claims occurred in this judicial

District, Defendant is subject to personal jurisdiction in this District, and Defendant transacts

business in this District. Further, venue is proper under 28 U.S.C. § 1391(c)(3) because

Defendant is a foreign entity.

                                    STATEMENT OF FACTS

I.      Defendant Stake.us is an Online Casino That Facilitates and Profits Enormously
        from Real-money Gambling.

        14.     In the United States, lawful gambling has historically been limited to physical

casinos or authorized venues where regulatory agencies and oversight bodies closely monitor

gambling operations and enforce compliance with established standards. These controlled

environments are designed to protect consumers by promoting fairness, ensuring transparency,

and maintaining safeguards against exploitation and misconduct.


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       15.     With advancements in technology, gambling has expanded beyond physical

venues to online platforms, creating new opportunities and challenges for regulators. States that

permit online gambling have adapted their legal frameworks to uphold the same standards of

consumer protection and regulatory accountability established for traditional casinos.

       16.     In states where online gambling is permitted, casino platforms are required to

operate transparently, offering clear money-for-chance exchanges that are explicitly

acknowledged as gambling and are subject to strict regulatory oversight to ensure compliance

with state laws.

       17.     Online gambling is not permitted in Illinois. The Illinois Legislature expressly

prohibits any “Internet site that permits a person to play a game of chance or skill for money or

other thing of value.” 720 ILCS 5/28-1(a)(12). This prohibition reflects the state’s public policy

against online gambling, ensuring that consumers are not exposed to the risks of fraudulent or

predatory practices commonly associated with such operations, especially where, as here, they

are accessible 24 hours-a-day, 7 days-a-week through computers and mobile devices.

       18.     Despite Illinois’s clear prohibition on online gambling, Stake.us operates as a

thinly disguised copy of Stake.com––an openly acknowledged gambling site. Indeed, a side-by-

side comparison of the two platforms reveals that Stake.us is virtually identical in appearance

and layout to Stake.com, as illustrated by Figures 1 and 2, below:




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                (Figure 1, Stake.com)                    (Figure 2, Defendant Stake.us)

       19.     Both websites prominently feature many of the same casino games and share

identical color schemes, graphics, logos, visual themes, and have virtually indistinguishable user

interfaces. These similarities are no accident—Stake.us was deliberately created as a replica of

Stake.com’s highly profitable gambling platform, strategically rebranded to evade U.S. gambling

regulation.

       20.     As discussed below, the Stake.us casino platform allows players to purchase and

wager “Stake Cash”—digital tokens that, like chips in a brick-and-mortar casino, can be

redeemed at a 1:1 ratio to the U.S. Dollar—on games of chance, including slot machines, bingo,

blackjack, roulette, and other casino-style offerings. Effectively, Defendant operates an

unlicensed and illegal online casino within Illinois.

       A.      Stake’s Platform Provides Games of Chance That Replicate An Authentic
               Casino Experience.

       21.     Stake provides players with online casino-style games, including virtual slot

machines, bingo, scratch cards, and roulette. These games are designed to be pure games of

chance, with outcomes entirely dictated by algorithms simulating randomness. Players have no

genuine ability to influence outcomes through skill or strategy. Stake recognizes this, touting that




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its “[s]lot games are fun games of chance” and that its “[s]cratch card games are a game of

luck.”1

          22.   Under Illinois law, a game of chance involves any activity where an outcome is

determined predominantly by chance rather than skill. Dew-Becker v. Wu, 178 N.E.3d 1034,

1040 (Ill. 2020). Defendant’s games fall squarely within this definition because players wager

Stake Cash on virtual casino-style games whose outcomes are determined exclusively by random

number generators (“RNGs”),2 precisely replicating the randomness and unpredictability of

physical slot machines and other chance-based games found in brick-and-mortar casinos.

          23.   Defendant aggressively emphasizes the purely chance-based nature of its games

to entice players with the prospect of substantial payouts. Stake frequently promotes the potential

for large winnings on its branded social media channels, as illustrated in Figure 3 below:




                                    s~
                                    SUGAR RUSH41r
                                    1000          •-             ~   .
                                    Pragmatic Play           .   •   •


                                    AMOUNT      5SCO         ~       't
                                    MULTIPLIER 12.7?4 70·



                                   63,623.500
                                                       ...
                                                (Figure 3)




1        Stake.us, https://stake.us/casino/home (last accessed April 4, 2025).
2        There can be no dispute that Stake’s games are considered “games of chance” under
Illinois law, as Stake admits that its RNGs use “an algorithm that produces a random sequence of
numbers which cannot be predicted. RNGs are at the core of online slot games and virtual table
games, providing the excitement that makes them so entertaining to play.”


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       24.     Figure 3 prominently advertises a massive payout on Stake’s “Sugar Rush 1000”

slots game, where a small wager of 5 Stake Cash resulted in a 63,623.50 Stake Cash win—a

multiplier of 12,724.70 times the original bet. This form of marketing strategically exploits

consumers’ hope for enormous returns despite slim odds. The Sugar Rush 1000 game itself is

depicted in Figure 4 below:




                                            (Figure 4)

       25.     The absence of skill components further underscores the games’ reliance on

chance. For instance, virtual slot machines require only the push of a button to spin reels whose

outcomes are entirely RNG-determined. Similarly, bingo and scratch cards depend exclusively

on random chance, offering players no opportunity to influence outcomes.

       26.     Defendant purposefully replicates key features of licensed casino games to deliver

an authentic gambling atmosphere. The visual design—including spinning reels, celebratory

animations, jackpot notifications, and dynamic audio effects—is intentionally crafted to trigger

psychological responses identical to those experienced in traditional casinos.

       27.     By offering these games of chance, Defendant is operating an unregulated online

casino in violation of Illinois law, which explicitly prohibits gambling on games of chance

conducted over the Internet. 720 ILCS 5/28-1(a)(12). Defendant’s deliberate creation of realistic



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casino experiences reinforces the unlawful nature of its operations and amplifies the risks to

Illinois residents.

        28.     But Defendant does not stop at virtual slots or simulated games. To further

enhance authenticity, Stake offers “Live Dealer Games” which it describes as allowing players to

“interact with human dealers” and experience “what it would be like to be at a land-based casino

while you’re sitting comfortably at home behind your computer screen or on your mobile

device.” Stake explained how Live Dealer Games function in a February 4, 2024 blog post, a

screenshot from which is shown below in Figure 53:

                  How Do Live Dealer Games Work?
                  Live dealer games are filmed in a studio with a human dealer and are uploaded     in
                  a live stream for your enjoyment. As a result, they provide a hybrid experience
                  between playing online casino games and playing at physical casinos.

                  Rather than relying solely on RNG games. live dealer games utilize real cards and
                  real tables, offering you a much more realistic and immersive experience.

                  This makes live dealer games extremely popular amongst online gamers, as you
                  can see the roulette wheel spin or the cards being dealt in real time by your casino
                  games hosts.

                                                     (Figure 5)

        29.     Stake’s Live Dealer Games feature professionally trained dealers seated at real

casino tables, using physical playing cards, roulette wheels, and other genuine casino equipment,

as depicted in Figures 6 and 7, below:




3      How to Play Live Dealer Games, STAKE.US, https://stake.us/blog/how-to-play-live-
dealer-games (last visited Mar. 26, 2025).


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                                 (Figure 6, Live Blackjack Table)




                                  (Figure 7, Live Roulette Table)

       30.     At these Live Tables, players wager Stake Cash, communicate via live chat with

dealers and other players, and watch as dealers physically handle cards or spin the roulette wheel

in real time. The realistic, immersive nature of these live dealer interactions intensifies the

gambling experience, rendering it indistinguishable from gambling at traditional casinos.

       31.     For example, Figure 6 illustrates a live blackjack session, where participants

actively wager Stake Cash directly against the dealer. Similar to traditional casinos, players

directly win or lose real money based on each hand’s outcome, reinforcing the genuine gambling

environment that Stake carefully cultivates.


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       32.     By offering these chance-driven, realistic casino experiences online, Stake

violates Illinois law, which strictly prohibits Internet gambling to protect consumers. Stake’s

conduct fosters precisely the addictive, financially ruinous, and psychologically damaging

activities that Illinois law aims to prevent. This blatant disregard for regulations underscores the

urgent need to protect consumers from Stake’s unlawful and predatory practices.

       B.      The Dual Currency System.

       33.     Although Stake.com openly operates as the largest online casino in the world, it is

barred from offering real-money gambling to consumers in the United States. To circumvent this

prohibition, Defendant created Stake.us, a nearly identical clone of Stake.com that is rebranded

as a free-to-play “social casino.” Unlike Stake.com, Defendant prominently represents that the

Stake.us “PLATFORM AND GAMES DO NOT OFFER REAL MONEY GAMBLING.”

(emphasis in original.) This façade relies entirely on a dual-currency system intentionally

designed to obscure the fact that players are engaging in real-money gambling.

       34.     Players on Stake.us are introduced to two types of virtual currency: Gold Coins

(“GC”), which hold no monetary value and are marketed as being solely for entertainment

purposes, and Stake Cash (“SC”), which can be redeemed for real money at a 1:1 exchange rate

to the U.S. Dollar and serves as the true currency of Defendant’s illegal gambling operations.

       35.     Gold Coins are presented as the primary currency for casual gameplay. Players

can earn a limited number of Gold Coins through daily logins or promotions and thereafter may

purchase more Gold Coins to keep playing. Defendant makes clear that “Gold Coins are a virtual

currency with no monetary value and can only be used for fun play. They cannot be redeemed.”

       36.     Stake Cash, on the other hand, is the true currency driving Defendant’s unlawful

online gambling operations. Although Defendant markets Stake Cash as merely a bonus token




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included with Gold Coin purchases, Stake Cash has direct monetary value and can be redeemed

at a fixed 1:1 ratio with the U.S. Dollar.

       37.     Until recently, players could purchase and redeem Stake Cash using either fiat- or

crypto-currency. However, as of the date of this filing, Stake requires players to purchase and

redeem Stake Cash using cryptocurrency, including Bitcoin and Ethereum. To that end, Stake

explicitly informs players that:

       Stake Cash will be redeemable at an implied rate of 1 Stake Cash per 1 USD. As
       such, the amount of cryptocurrency that can be redeemed per 1 Stake Cash will be
       determined by the market price of that cryptocurrency in USD at the time of such
       redemption.

       38.     Thus, despite Defendant’s deceptive claims, Stake Cash functions as real currency

by directly linking virtual wagers to actual monetary value, allowing players to seamlessly

convert their virtual gambling winnings into real-world money.

       39.     Though Defendant tells players that no purchase is necessary to obtain Stake

Cash, this representation is highly misleading. Players may acquire limited free Stake Cash

through occasional promotions––such as receiving a single Stake Cash per day as a “Daily Login

Bonus” or five Stake Cash by completing a cumbersome mail-in request––but these methods are

deliberately obscure, impractical, and insufficient for regular gameplay. Ultimately, once a

player’s promotional Stake Cash is exhausted, the only viable way to continue gambling is to

purchase additional Stake Cash.

       40.     To obtain more Stake Cash, players must buy coin bundles containing both Gold

Coins and Stake Cash. Defendant characterizes these transactions as primarily Gold Coin

purchases with Stake Cash supposedly included as a “free” bonus. However, the pricing structure

makes it clear that players are actually paying for Stake Cash.

       41.     For every dollar spent on the coin bundles, players receive a nearly equivalent


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amount of Stake Cash, as illustrated in Figure 8, below. For example, a bundle of 200,000 Gold

Coins and 20.05 Stake Cash costs $20, a bundle of 500,000 Gold Coins and 50.12 Stake Cash

costs $50, and a bundle of 3,000,000 Gold Coins and 300.75 Stake Cash costs $300. This pricing

structure shows that Gold Coins serve only as a superficial disguise for the transaction of Stake

Cash.
                            Pleuse choose one of the lo!lov,ing       bundle options


                            0 20.05 Froo Stake cash      ()     50.12 Free Stake Cash   0 100.25
                                                                                           Free Stake Cash




                                      •   +
                                    200,000
                                   Gold Coins
                                                                      •   +
                                                                    500,000
                                                                  Gold Coins
                                                                                                   .+
                                                                                                   '='
                                                                                               1,000,000
                                                                                               Gold Coins


                                      $20                             $50                          $100


                            0 200.5 Froo Stake cash 0 300.75
                                                                Free Stake Cssh



                                    fl!/
                                     -:s::
                                   2,000,000
                                   Gold Coins
                                                                      ~
                                                                      -:s::
                                                                  3,000,000
                                                                  Gold Coins
                                                                                                   •
                                                                                                300,000
                                                                                               Gold Coins



                                      $200                           $300                          $30



                                               Maximum        buy of $9.000   00 USD per dJy




                                                               (Figure 8)

        42.    Plaintiff Urdan and, on information and belief, the vast majority of players on the

Stake.us platform, regularly buy additional coin bundles when they run out of Stake Cash even

when they already possess hundreds of thousands or even millions of unused Gold Coins. The

fact that players are making these repeated purchases when they have ample Gold Coins

confirms that these transactions are driven entirely by the desire to obtain Stake Cash for real-

money gambling, rather than for the Gold Coins Defendant claims to sell.

        43.    Defendant’s dual-currency structure transforms what appears to be an innocuous

gaming platform into an unregulated online casino where players use real money to gamble on



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games of chance. Courts throughout the country have found that when players spend money to

obtain more “entries” or “bonus currency” despite already possessing unused amounts of the

purported product (here, Gold Coins), there is unmistakable evidence that the “sweepstakes” or

“promotion” is merely a front for gambling.

II.     Stake Calls Itself a “Social Casino” to Lure Consumers and Hide Its Illegal
        Gambling Operation.

        44.    Stake promotes itself as a “Social Casino” to avoid gambling regulations and

reassure potential players that it offers casino-style games purely for entertainment, without real-

money stakes. Stake explains to consumers that:

        A Social Casino refers to an online platform that offers casino-style games for
        entertainment purposes, without involving real money. Instead, we use tokens
        (Gold Coins and Stake Cash).

        Users can enjoy a variety of casino games, such as slots, roulette and blackjack, but
        with the use of virtual currency–tokens–rather than real money. Platforms like ours
        are focused on creating a social and interactive gaming experience, allowing
        players to connect with friends, share achievements, and participate in virtual
        communities. 🤗

        45.    As part of its scheme to brand itself as a mere “social casino,” Stake explicitly and

fraudulently represents to consumers through its terms of service that its “PLATFORM AND

GAMES DO NOT OFFER REAL MONEY GAMBLING.” (emphasis in original). Stake

even goes so far as to represent that its “social casino has been tailor-made to provide the

ultimate social, safe and free gaming experience.” (emphasis added). These false representations

intentionally mislead consumers into believing that they are participating in harmless gameplay

rather than actual real-money gambling, even when wagering with Stake Cash.

        46.    Stake further attempts to give consumers in Illinois (and elsewhere) additional

comfort that they are not violating the law by identifying certain states where the platform is

prohibited, thus creating the false and deceptive impression that Stake is being transparent


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about the legality of its platform. Stake tells consumers that “while we welcome users from

most states, we are currently unable to accommodate players from Washington, New York,

Nevada, Kentucky, Idaho, Michigan, and Vermont – due to the regulations of the mentioned

states.” (emphasis added). Stake goes even further, representing to consumers that it “operate[s]

within the legal frameworks of states that permit Social Casino platforms” and that “[n]ot every

state falls under this category, so to prevent misuse, we need to ensure that our customers come

from the allowed states, steering clear of those where our services aren’t legally permitted.”

(emphasis added). Stake’s terms of service also purport to exclude consumers in these states

from its platform.

       47.     However, once consumers join, the platform’s carefully designed features start to

funnel them away from casual gameplay (using Gold Coins) and into real-money gambling

(using Stake Cash). Indeed, Stake deceptively describes Stake Cash as just another virtual token

with “no cash value”:

       Stake Cash is our virtual token currency, and this token–like Gold Coin–has no cash value.
       You may receive it as a free bonus with a Gold Coin bundle purchase, or obtain it up
       through cool promotions we offer on the platform. Not to forget the daily bonuses! Oh, and
       guess what? Stake Cash isn’t just a token; you can redeem it for crypto prizes. (emphasis
       added).

       48.     This representation is intentionally misleading. As discussed above, Stake Cash

has direct monetary value and serves as the core component of Stake’s gambling operation.

Thus, while Stake publicly portrays itself as a harmless “social casino,” it purposefully disguises

the true nature of its platform, trapping unsuspecting consumers into real-money gambling under

the guise of casual entertainment.

       49.     Stake reinforces this deception through a carefully designed interface that

seamlessly transitions players from casual gameplay using Gold Coins to gambling real money




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with Stake Cash, as illustrated below in Figures 9 and 10, which depict Stake’s casino-style slot

game, Wheel Big Winner:




         (Figure 9, Wagering Gold Coins)               (Figure 10, Wagering Stake Cash)

       50.     At the top of every game on Stake’s platform are toggles that enable players, with

just a single click or tap, to switch between wagering non-monetary Gold Coins and Stake Cash.

Figure 9 illustrates the game screen when a player wagers Gold Coins, and Figure 10 illustrates

the seamless shift to wagering Stake Cash. This simple toggle mechanism is designed to make it

as easy as possible for players to transition from casual, risk-free play to gambling with real-

world stakes. Players who start out playing for fun—believing they are enjoying a harmless,

“social” casino experience—can quickly and effortlessly shift to risking actual money without

fully appreciating the financial consequences.

       51.     For these reasons, many players are misled into believing they are engaging in

harmless gaming, only to find themselves spending significant sums of money chasing Stake

Cash winnings. Stake’s platform uses celebratory animations, sound effects, and other

psychological triggers—hallmarks of traditional slot machines—to keep players engaged and

spending. This manipulation disproportionately affects vulnerable populations, including

individuals susceptible to gambling addiction, who may not recognize the financial stakes until

they have already suffered significant losses.




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         52.     To make matters worse, Stake imposes confusing “playthrough” requirements that

make it more difficult for players seeking to redeem their winnings:

         For every amount of Stake Cash that you receive as a bonus alongside your purchase
         of Gold coins, you would need to play it through at least 3x over before redemption
         is available. So only Stake cash received alongside your purchase would have a
         rollover.

         Here is an appropriate example:

         If you purchase Gold coins and receive 10 Stake cash as a bonus, you are required to
         play through with at least 30 Stake cash before redemptions are available.

         After you complete the rollover you are free to redeem prizes with those funds,
         however if you, in the meantime, receive more SC alongside a new purchase
         Redemption section will still be locked until that amount of SC is played through 3X.

         53.     In other words, players must repeatedly wager their Stake Cash winnings three

times before they can redeem them for real money. This convoluted “playthrough” requirement

significantly restricts players’ ability to withdraw their winnings and compels them to keep

gambling, thereby increasing their risk of further losses. Such deceptive practices not only

underscore the fundamentally gambling-oriented nature of Stake’s platform but also highlight the

substantial risks it poses to unsuspecting users initially drawn in by promises of harmless

entertainment.

III.     Stake’s Gambling Platform Fails To Provide Basic Consumer Protections That Are
         Required by Illinois Law.

         54.     The harm caused by Stake’s illegal gambling operation is further exacerbated by

Defendant’s lack of accountability and regulatory oversight. Unlike licensed casinos, which must

comply with strict requirements to ensure fairness, transparency, and consumer protections,

Defendant operates without these safeguards. The absence of oversight leaves players vulnerable

to unfair practices, such as manipulated game outcomes, misleading promotions, and nonexistent

or inadequate mechanisms to address problem gambling.


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       55.     This is not just a theoretical danger—Defendant’s online casinos actively

undermine critical consumer protections required by Illinois law. For example, Defendant

disregards the consumer protection laws that require casinos to conspicuously post signs that

inform patrons how to obtain assistance with problem gambling and provide instructions on

accessing the Illinois Gaming Board Self-Exclusion Program. See 230 ILCS 10/13.1(a)

(Compulsive gambling) (“Each licensed owner shall post signs with a statement regarding

obtaining assistance with gambling problems” at “[e]ach entrance and exit” and “[n]ear each

credit location.”); 11 ILL. ADMIN. CODE 1800.1750.

       56.     Instead of providing meaningful resources to address problem gambling,

Defendant offers only a superficial and misleading commitment to “Responsible Play,” framing

the issue as one related to “computer games” rather than gambling: “[f]or most people, playing

computer games is an enjoyable leisure and entertainment activity. But for some, playing

computer games can have negative impacts.” The Responsibly Play policy doesn’t direct

consumers to any gambling addiction resources, instead it informs users that they can take a

short “break-in-play” or “self-exclude” their account for a set period of time. In fact, the only

external resource mentioned on the “Responsible Play” page is a link to “Gaming Addicts

Anonymous,” which is inconspicuously buried in the footer and displayed in a smaller font than

the Responsible Play policy. More to the point, Gaming Addicts Anonymous doesn’t even

address gambling addiction—rather, it’s an organization designed to primarily assist individuals

struggling with video game addiction.

       57.     To add further confusion, Stake maintains a separate webpage titled “Responsible

Gaming”—distinct from its “Responsible Play” page—that provide links to the Financial

Counseling Association of America and the National Foundation for Credit Counseling. Yet




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these organizations offer guidance primarily related to general financial management and debt

relief, not gambling addiction. Defendant’s fragmented and misleading approach to providing

resources highlights its deliberate choice to obscure the platform’s gambling-related harms and

evade accountability for the damage it inflicts on players.

       58.     This harm is not just hypothetical. Stake operates a public chatroom where

players can post messages to one another. Every day, the chat is inundated with posts by players

describing how they have lost significant amounts of money gambling on Stake, with many

complaining that they are stuck in a cycle where they win some nominal amount but lose much

more. Allusions to self-harm are, unfortunately, not rare. Below are just a handful of posts from

April 4, 2025, that are representative of the type regularly appearing on Stake:

               • does anybody actually win here? Or is it a perpetual battle of losing, making it
                 back and then losing again? I literally haven’t been up in months
               • I know why people kthemselves. They play on stake! Haha
               • best comeback for me was i bought 20 package went to 3k then down ti last 20
                 again thennn went up to 3.6 then lost it all again lmaoooooo
               • The lost it all is so real lol
               • you break even then lose and lose and lose some more til you kys
               • fr bruh, down 3k today already
               • I missed my child support need 10x
               • I’ve lost over a thousand bucks today
               • You can’t win because the site is a scam
               • we all gotta walk away from this gambling site
               • losing 7-14 times in a row happens very frequently, like its programmed to do
                 that lol
               • Yeah bro.. Was up to 2400. It was 2AM.. And I kept playing instead of going to
                 sleep.. Rinsed it all. :(
       59.     The inadequacy of Stake’s approach is underscored by comparing it to the

comprehensive gambling addiction resources provided by Stake.com. Unlike Stake.us—which




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misleadingly frames gambling addiction as a mere issue of excessive video gaming—Stake.com

explicitly acknowledges the serious nature of gambling addiction and directs players to

specialized organizations such as Gamblers Anonymous, Gambling Therapy, the National

Council on Problem Gambling, and Gamtalk. Each of these organizations is specifically

dedicated to addressing gambling addiction––not gaming addiction––and provide targeted

assistance, helplines, support groups, and professional treatment referrals. Stake.com’s inclusion

of these tailored resources demonstrates that Defendant is fully aware of the appropriate

resources needed to support problem gamblers. By deliberately withholding these critical

resources from Stake.us users, Defendant intentionally sacrifices the well-being of vulnerable

consumers to maintain the fiction that its U.S. platform is merely a harmless “social casino,”

rather than the unlawful gambling operation it truly is.

IV.     Stake Aggressively Advertises on Social Media.

        60.     Defendant leverages extensive social media campaigns to promote Stake,

reaching millions of consumers across platforms such as Instagram, TikTok, and X.

        61.     Stake’s advertisements frequently feature videos of prominent influencers and

celebrities gambling with Stake Cash and winning massive amounts, as illustrated in Figures 11

and 12 below:




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                      (Figure 11)                                                    (Figure 12)

       62.     Figures 11 and 12 show screenshots of videos featuring paid influencers that

Stake has prominently posted on its Instagram account. Figure 11 depicts an influencer known as

“jaredfps” winning 100,000 Stake Cash playing Stake’s Plinko game, promoted with the caption,

“HUGE DUB! A 100k SC hit for @jaredfps after yet another 1000x Plinko drop.” Figure 12

depicts influencer “blessedmma” winning over 5,000 Stake Cash while playing the “Bonsai

Banzai” slots game.

       63.     These influencer videos emphasize large monetary rewards using celebratory

animations and visuals of virtual coins cascading across the screen, enhancing the allure of

gambling. By showcasing popular influencers achieving substantial wins, Stake strategically

employs social proof and aspirational marketing to give the misleading impression that large

payouts are common, enticing users to shift from casual play into real-money gambling with

Stake Cash.

       64.     Stake also routinely publishes social media posts highlighting enormous player

wins across various casino-style games, intentionally spotlighting the potential for massive

returns from modest wagers. As illustrated in Group Figure 13, below, these posts feature eye-



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catching graphics to highlight extraordinary outcomes, such as a 16,907.50x multiplier on the

“Joker Jam” slot that turned just 2 SC into 33,815 SC, a 606,960 SC payout on “Drac’s Stacks,”

and an astounding 500,000 SC win from a single game of Keno:
 A   Stake.USO ■ OStakeUH,        Mar 15         a ...   A,   Stake.USO ■ 0S takelm   • Mar 18   a-   A   Stake.USO ■ OStakeUsa• 20t1   a ...
 W   Keno with the c;leanestofhlts! .;                   W' >c>~w.uthetrumpcatdallalonl!    l.        ¥   O,ac'sgotthestacks! v




                                                                      (Group Figure 13)

               65.                  These large payouts frequently promoted by Stake––such as the Joker Jam win of

approximately 17,000x, Drac’s Stacks win of 6,000x, and the Keno win of 500x––represent

extraordinarily improbable events. Industry research suggests that a win exceeding 16,000x

occurs less than once in tens of millions of spins, while a 6,000x payout typically occurs fewer

than once per several hundred thousand attempts, and even a 500x return has less than a 0.01%

probability per spin. See, e.g., Return to player: how much gaming machines payout, UK

Gambling Commission (June 16, 2021), https://www.gamblingcommission.gov.uk/public-and-

players/guide/return-to-player-how-much-gaming-machines-payout. By prominently advertising

these exceedingly rare outcomes, Stake exploits players’ cognitive biases, creating a misleading

impression that such extraordinary wins are achievable and frequent, thereby encouraging

impulsive and risky gambling behaviors. Stake’s deliberate use of this deceptive marketing tactic

exploits consumers’ cognitive biases, driving them to make impulsive wagers and chase

unrealistic payouts, often resulting in significant financial losses and gambling-related harm.

               66.                  Defendant also heavily promotes itself through celebrity endorsements and major


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sports sponsorships. Its most prominent partner is the internationally famous rapper Drake,

whose public wagering of enormous sums on Stake.com has created what industry experts call

the “Drake Effect”—massively boosting the Stake brand’s popularity, especially among younger,

impressionable audiences who admire Drake’s glamorous lifestyle. Drake is also directly

sponsored by Stake.us, which prominently features him on its homepage, strategically using his

celebrity influence to encourage impressionable users to gamble on Stake.us.

         67.   Stake similarly sponsors global sports franchises and famous athletes, including

Everton FC in the English Premier League and former UFC champion Israel Adesanya. These

partnerships associate Stake with the excitement and legitimacy of elite professional sports.

         68.   The point of Stake’s aggressive sponsorship strategy is clear: by linking itself

with globally admired celebrities and teams, Stake aims to normalize online gambling, increase

consumer trust, and disguise the risks of gambling behind an appealing entertainment-focused

image.

         69.   Critically, Stake.us and Stake.com sponsor the exact same celebrities and sports

teams, further demonstrating that Stake.us is simply a strategic copy of Stake.com, deceptively

rebranded as a “social casino” to evade gambling regulations.

         70.   Through its targeted and misleading marketing, Stake attracts users who remain

largely unaware of the financial and emotional dangers involved, allowing Stake to maximize

profits while escaping the accountability, oversight, and consumer protections required of

legitimate gambling operations.

                  FACTS SPECIFIC TO PLAINTIFF BRAYDEN URDAN

         71.   Plaintiff Urdan has been playing Stake games since approximately August 2022.

Plaintiff Urdan has played several games of chance on Stake.us, including, but not limited to,




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Wild West, Sweet Bonanza, and Le Viking.

       72.     After using the limited number of Stake Cash obtained through Defendant’s

promotions, Plaintiff Urdan purchased Stake Cash through Defendant’s online store in order to

continue playing. When Plaintiff Urdan ran out of Stake Cash, he would purchase more even

though he still had many Gold Coins.

       73.     Plaintiff Urdan played various games of chance within Stake––including slot

machine games such as Wild West, Sweet Bonanza, and Le Viking, and both simulated and live

table games such as roulette, blackjack, and baccarat––where he would wager Stake Cash for the

chance to win real cash prizes.

       74.     Since he started playing, Plaintiff Urdan has wagered and lost (and Defendant

therefore won) more than $15,000 on Stake’s games of chance. Just in the last six months,

Plaintiff Urdan has wagered and lost (and Defendant therefore won) more than $10,000 on

Stake’s games of chance.4

                              CLASS ACTION ALLEGATIONS

       75.     Class Definitions: Plaintiff brings this action pursuant to Federal Rule of

Civil Procedure 23(b)(2) and (b)(3) on behalf of himself, an Illinois Class and an Illinois

Loss Recovery Subclass (collectively, the “Classes”) defined as follows:

       Illinois Class: All persons in Illinois who have lost fiat- or crypto-currency wagering
       on Defendant’s online casino games.

       Illinois Loss Recovery Subclass: All persons in Illinois who have lost at least $50 in
       fiat- or crypto-currency wagering on Defendant’s online casino games.

Excluded from the Classes are: (1) any Judge or Magistrate presiding over this action and




4      Plaintiff notified Stake about this dispute on March 31, 2025. Stake responded on April 3,
2025, notifying Plaintiff that it had cut off access to his account.


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members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, and any entity in which the Defendant or their parents have a controlling

interest and its current or former employees, officers and directors; (3) persons who properly

execute and file a timely request for exclusion from the Classes; (4) persons whose claims in

this matter have been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s

counsel and Defendant’s counsel; and (6) the legal representatives, successors, and assigns of

any such excluded persons.

        76.     Numerosity: The exact number of members of the Classes is unknown and not

available to Plaintiff at this time, but it is clear that individual joinder is impracticable. On

information and belief, thousands of consumers fall into the definition of the Illinois Class and

the Illinois Loss Recovery Subclass. Members of the Classes can be identified through

Defendant’s records, discovery, and other third-party sources.

        77.     Commonality and Predominance: There are many questions of law and fact

common to the claims of Plaintiff and the putative Classes, and those questions predominate over

any questions that may affect individual members of the Classes. Common questions include, but

are not limited to, the following:

                (a)     Whether Defendant is the proprietor for whose benefit the online
                        casino games are played;

                (b)     Whether Defendant’s online casino games are illegal under
                        Illinois gambling laws;

                (c)     Whether Plaintiff and each member of the Classes lost money
                        wagering on Defendant’s online casino games;

                (d)     Whether Defendant’s online casino games are games of chance
                        under Illinois law;

                (e)     Whether Plaintiff and the Illinois Loss Recover Subclass members
                        are entitled to recover their gambling losses under the Illinois Loss


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                       Recovery Act, 720 ILCS 5/28-8;

               (f)     Whether Defendant has violated the Illinois Consumer Fraud and
                       Deceptive Business Practices Act, 815 ILCS 505/1, et seq.; and

               (g)     Whether Defendant has been unjustly enriched as a result of its
                       conduct.

       78.     Typicality: Plaintiff’s claims are typical of the claims of other members of the

Classes in that Plaintiff and the members of the Classes sustained damages arising out of

Defendant’s uniform wrongful conduct.

       79.     Adequate Representation: Plaintiff will fairly and adequately represent and

protect the interests of the Classes and has retained counsel competent and experienced in

complex litigation and class actions. Plaintiff’s claims are representative of the claims of the

other members of the Classes, as Plaintiff and each member of the Classes lost money playing

Defendant’s illegal casino games. Plaintiff also has no interests antagonistic to those of the

Classes, and Defendant has no defenses unique to Plaintiff. Plaintiff and his counsel are

committed to vigorously prosecuting this action on behalf of the Classes, and have the financial

resources to do so. Neither Plaintiff nor his counsel have any interest adverse to the Classes.

       80.     Policies Generally Applicable to the Class: This class action is appropriate for

certification because Defendant has acted or refused to act on grounds generally applicable to the

Classes as a whole, thereby requiring the Court’s imposition of uniform relief to ensure

compatible standards of conduct toward members of the Classes, and making final injunctive

relief appropriate with respect to the Classes as a whole. Defendant’s policies and practices

challenged herein apply to and affect members of the Classes uniformly, and Plaintiff’s

challenge of these practices and policies hinges on Defendant’s conduct with respect to the

Classes as a whole, not on facts or law applicable only to Plaintiff. The factual and legal bases of




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Defendant’s liability to Plaintiff and to the other members of the Classes are the same.

       81.     Superiority: This case is also appropriate for class certification because class

proceedings are superior to all other available methods for the fair and efficient adjudication of

this controversy given that joinder of all parties is impracticable. The harm suffered by the

individual members of the Classes is likely to have been relatively small compared to the burden

and expense of prosecuting individual actions to redress Defendant’s wrongful conduct. Absent a

class action, it would be difficult for the individual members of the Classes to obtain effective

relief from Defendant. Even if members of the Classes themselves could sustain such individual

litigation, it would not be preferable to a class action because individual litigation would increase

the delay and expense to all parties and the Court and require duplicative consideration of the

legal and factual issues presented. By contrast, a class action presents far fewer management

difficulties and provides the benefits of single adjudication, economy of scale, and

comprehensive supervision by a single Court. Economies of time, effort, and expense will be

fostered, and uniformity of decisions will be ensured.

       82.     Plaintiff reserves the right to revise each of the foregoing allegations based on

facts learned through additional investigation and in discovery.

                                FIRST CAUSE OF ACTION
                         Violation of the Illinois Loss Recovery Act
                                        720 ILCS 5/28-8
               (On behalf of Plaintiff and the Illinois Loss Recovery Subclass)

       83.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       84.     Plaintiff brings this claim on behalf of himself and the Illinois Loss Recovery

Subclass under the Illinois Loss Recovery Act, 720 ILCS 5/28-8, which was enacted to

effectuate the State of Illinois’ public policy against gambling.

       85.     720 ILCS 5/28-8(a) provides that:


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       Any person who by gambling shall lose to any other person, any sum of money or
       thing of value, amounting to the sum of $50 or more and shall pay or deliver the
       same or any part thereof, may sue for and recover the money or other thing of value,
       so lost and paid or delivered, in a civil action against the winner thereof, with costs,
       in the circuit court.

       86.     The Illinois Supreme Court has found that the “purpose of section 28-8(a) is not

simply to undo illegal gambling transactions but ‘to deter illegal gambling by using its recovery

provisions as a powerful enforcement mechanism.’” Dew-Becker, 178 N.E.3d at 1037-38

(quoting Vinson v. Casino Queen, Inc., 123 F.3d 655, 657 (7th Cir. 1997)).

       87.     Plaintiff, Illinois Loss Recovery Subclass members, and Defendant are “persons”

under 720 ILCS 5/28-8(a). See 720 ILCS 5/2-15 (“Person” means “an individual, natural person,

public or private corporation . . . partnership, unincorporated association, or other entity.”).

       88.     The activity of “gambling” includes anyone who, inter alia, “knowingly

establishes, maintains, or operates an Internet site that permits a person to play a game of chance

or skill for money or other thing of value by means of the Internet,” 720 ILCS 5/28-1(a)(12),

“knowingly plays a game of chance or skill for money or other thing of value,” 720 ILCS 5/28-

1(a)(1), or “knowingly . . . uses . . . any gambling device.” 720 ILCS 5/28-1(a)(3).

       89.     The Illinois Loss Recovery Act defines a “gambling device” as a “slot machine or

other machines or device for the reception of money or other thing of value” that on “chance or

skill . . . is staked, hazarded, bet, won, or lost.” 720 ILCS 5/28-2(a).

       90.     Stake Cash constitutes money or a thing of value because its value is directly tied

to the U.S. Dollar at a 1:1 ratio and can be redeemed for cryptocurrency through Defendant’s

platform. Just like casino chips in a brick-and-mortar casino, Stake Cash serves as a proxy for

real currency, allowing players to wager, win, and ultimately cash out their balances in a form

that retains actual monetary value.




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       91.     Defendant’s online casino platform––Stake.us––is an Internet site that permits

consumers to play games of chance (e.g., online slot machines) for money or other things of

value (Stake Cash).

       92.     Every casino game offered on Defendant’s online platform is a “gambling

device” because they accept money or other valuable items (Stake Cash) from players, operate

on chance using random number generators, and enable players to stake, hazard, and bet money

or other valuable items (Stake Cash) with the potential to win or lose money or other valuable

items (Stake Cash).

       93.     Defendant’s games of chance do not permit players to gamble directly against

other players. Rather, like the “house” in a traditional brick-and-mortar casino, Defendant is the

“winner” under the statute because it has a direct stake in the result of the gambling. When

players wager Stake Cash on games of chance and win, they can redeem their winnings for

cryptocurrency at a 1:1 ratio with the U.S. Dollar—meaning Defendant incurs the equivalent

monetary loss. Conversely, when players bet Stake Cash on games of chance and lose,

Defendant retains the full value of the lost Stake Cash, just as traditional casinos profit from

losing bets placed against the house.

       94.     By wagering and losing Stake Cash on Defendant’s casino platform, Plaintiff and

each member of the Illinois Loss Recovery Subclass gambled and lost money or things of value.

       95.     Plaintiff and the members of the Illinois Loss Recovery Subclass have each lost

more than $50 gambling on Defendant’s platform.

       96.     Defendant owns, operates, and controls the gambling games described herein, and

directly profited from Plaintiff’s and the Illinois Loss Recovery Subclass members’ gambling

losses. Defendant is therefore the “winner” under 720 ILCS 5/28-8(a) of all moneys lost by




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Plaintiff and the Illinois Loss Recovery Subclass members.

       97.     Plaintiff’s and the Illinois Loss Recovery Subclass members’ losses occurred in

Illinois because Defendant’s online casino games were played by Illinois residents on computers,

mobile phones, and mobile devices in the State of Illinois. Defendant had actual knowledge that

Plaintiff and the Illinois Loss Recovery Subclass members reside in Illinois because each of them

selected “Illinois” as their state of residence and provided their complete home address pursuant

to Defendant’s mandatory registration process.

       98.     Plaintiff, on behalf of himself and the Illinois Loss Recovery Subclass members,

seek an order requiring Defendant to (1) cease the operation of its gambling devices, and (2)

return all lost monies, with costs, pursuant to 720 ILCS 5/28-8(a).

                                SECOND CAUSE OF ACTION
       Violation of the Illinois Consumer Fraud and Deceptive Business Practices Act
                                   815 ILCS §§ 505/1, et seq.
                         (On behalf of Plaintiff and the Illinois Class)

       99.     Plaintiff incorporates the foregoing allegations as if fully set forth herein.

       100.    The Illinois Consumer Fraud and Deceptive Business Practices Act (“ICFA”),

815 ILCS §§ 505/1, et seq., protects consumers and competitors by promoting fair competition in

commercial markets for goods and services.

       101.    The ICFA prohibits any unlawful, unfair, or fraudulent business acts or practices

including the employment of any deception, fraud, false pretense, false promise, false

advertising, misrepresentation, or the concealment, suppression, or omission of any material fact.

       102.    The ICFA applies to Defendant’s actions and conduct as described herein because

it protects consumers in transactions that are intended to result, or which have resulted, in the

sale of goods or services.

       103.    Defendant is a “person” as defined by 815 ILCS 505/1(c).


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       104.      Plaintiff and the Illinois Class are “consumers” under 815 ILCS 505/1(e).

       105.      Stake Cash is “merchandise” within the meaning of 815 ILCS 505/1(b) and

Defendant’s sale of Stake Cash constitutes “trade” or “commerce” within the meaning of 815

ILCS 505/1(f).

       106.      Defendant’s practices described above, including their operation of illegal casino

platform and sale of Stake Cash, were unfair within the meaning of the ICFA because they

offended Illinois’ public policy against unlawful and unregulated gambling, see, e.g., 720 ILCS

5/28-7 (Gambling contracts void); Hall v. Montaleone, 348 N.E.2d 196, 198 (Ill. App. Ct. 1976)

(stating that “gambling contracts or contracts for an immoral or criminal purpose” are

“absolutely void and unenforceable” by reason of “public policy”), and were otherwise unethical,

oppressive, and unscrupulous and caused substantial injury to the consumers who purchased

Stake Cash on the Stake Casino platform.

       107.      Defendant caused substantial injury to Plaintiff and the Illinois Class by inducing

them to purchase and wager Stake Cash through the design of its illegal gambling platform. The

injury caused by Defendant’s conduct is not outweighed by any countervailing benefits to

consumers or competition, and the injury is one that consumers themselves could not reasonably

have avoided.

       108.      Defendant’s unfair practices occurred during the marketing and sale of Stake

Cash for use on Stake’s illegal gambling platform, and thus, occurred in the course of trade and

commerce.

       109.      Defendant represents to consumers, including Plaintiff and the Illinois Class, that

its “PLATFORM AND GAMES DO NOT OFFER REAL MONEY GAMBLING”

(emphasis in original) and misleads consumers into believing they are not engaging in gambling




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by wagering Stake Cash on the casino games offered on its platform. Defendant even represents

to consumers, including Plaintiff and the Illinois Class, that its “social casino has been tailor-

made to provide the ultimate social, safe and free gaming experience.” (emphasis added).

       110.    Further, Defendant conceals from consumers, including Plaintiff and the Illinois

Class, that wagering with Stake Cash on its platform constitutes illegal gambling prohibited by

state law.

       111.    To make matters worse, Defendant’s casinos fail to provide the statutorily

required consumer protections that every licensed casino in the State of Illinois must provide.

For example, Defendant disregards the consumer protection laws that require casinos to

conspicuously post signs that inform patrons how to obtain assistance with problem gambling

and provide instructions on accessing the Illinois Gaming Board Self-Exclusion Program. See

230 ILCS 10/13.1(a) (Compulsive gambling) (“Each licensed owner shall post signs with a

statement regarding obtaining assistance with gambling problems” at “[e]ach entrance and exit”

and “[n]ear each credit location.”); 11 ILL. ADMIN. CODE 1800.1750.

       112.    Defendant aggressively markets and advertises its platform on social media while

at the same time concealing that it is illegal under state law. As such, Illinois consumers,

including Plaintiff and the Illinois Class, are highly likely to continue to encounter current and

future iterations of Defendant’s illegal platform absent injunctive relief.

       113.    Not only is Defendant’s conduct unfair, but as discussed above, Defendant’s

conduct is also unlawful given that they knowingly maintain and operate “an Internet site that

permits a person to play a game of chance or skill for money or other thing of value by means of

the Internet,” 720 ILCS 5/28-1(a)(12), and otherwise knowingly play games of chance for money

or other things of value, 720 ILCS 5/28-1(a)(1), and knowingly use gambling devices, 720 ILCS




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5/28-1(a)(3).

        114.    Further, Defendant’s conduct is immoral because it is designed to encourage

illegal gambling while marketing its platform as a legal simulation of casino-style games, as well

as to exploit psychological triggers associated with gambling and addiction in order to target

susceptible populations.

        115.    As a direct and proximate result of Defendant’s violations of the ICFA, Plaintiff

and the Illinois Class members have suffered harm in the form of monies paid and lost for

Defendant’s Stake Cash.

        116.    Plaintiff, on behalf of himself and the Illinois Class members, seek an order

requiring Defendant to (1) cease the unfair practices described herein, (2) return all monies

acquired through any purchase that included the transfer of Stake Cash to Plaintiff and the

Illinois Class, and otherwise (3) pay damages, interest, and reasonable attorneys’ fees, together

with costs and expenses.

                                 THIRD CAUSE OF ACTION
                                       Unjust Enrichment
                           (On Behalf of Plaintiff and the Illinois Class)

        117.    Plaintiff incorporates the foregoing allegations as if fully set forth herein.

        118.    Plaintiff and the Illinois Class members have conferred a benefit upon Defendant

in the form of the money they paid for the purchase of Stake Cash to wager on Defendant’s

illegal casino platform.

        119.    Defendant appreciates and has knowledge of the benefits conferred upon it by

Plaintiff and the Illinois Class.

        120.    Under principles of equity and good conscience, Defendant should not be

permitted to retain the money obtained from Plaintiff and the Illinois Class members, which




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Defendant has unjustly obtained as a result of its unlawful operation of casino games. As it

stands, Defendant has retained millions of dollars in profits generated from its unlawful games of

chance and should not be permitted to retain those ill-gotten profits.

       121.    Accordingly, Plaintiff and the Illinois Class members seek full disgorgement of

all money Defendant has retained as a result of the wrongful conduct alleged herein.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Brayden Urdan, individually and on behalf of the Classes,

respectfully requests that this Court enter an Order:

       (a)     Certifying this case as a class action on behalf of the Classes defined above,

appointing Plaintiff as the representative of the Classes, and appointing his counsel as Class

Counsel;

       (b)     Declaring that Defendant’s conduct, as set out above, is unlawful under 720 ILCS

5/28-8 and 815 ILCS 505/1, et seq.;

       (c)     Entering judgment against Defendant in the amount of the losses suffered by

Plaintiff and each member of the Classes;

       (d)     Enjoining Defendant from continuing the challenged conduct;

       (e)     Awarding damages to Plaintiff and the members of the Classes in an amount to be

determined at trial, including trebling as appropriate;

       (f)     Awarding restitution to Plaintiff and the members of the Classes in an amount to

be determined at trial;

       (g)     Requiring disgorgement of all of Defendant’s ill-gotten gains;

       (h)     Awarding reasonable attorneys’ fees and expenses;

       (i)     Awarding pre- and post-judgment interest, to the extent allowable;




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       (j)     Requiring injunctive and/or declaratory relief as necessary to protect the interests

of Plaintiff and the Classes; and

       (k)     Awarding such other and further relief as equity and justice require, including all

forms of relief provided for under Plaintiff’s claims.

                                         JURY DEMAND

       Plaintiff requests a trial by jury of all claims that can be so tried.

                                               Respectfully Submitted,

                                               BRAYDEN URDAN, individually and on behalf of
                                               all others similarly situated,

Dated: April 7, 2025                           By: /s/ J. Eli Wade-Scott
                                               One of Plaintiff’s Attorneys

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